    Case: 23-60069   Document: 102    Page: 1     Date Filed: 03/27/2023




                           No. 23-60069



          In the United States Court of Appeals
                  for the Fifth Circuit

  STATE OF TEXAS; TEXAS COMMISSION ON ENVIRONMENTAL
 QUALITY; LUMINANT GENERATION COMPANY, L.L.C.; COLETO
  CREEK POWER, L.L.C.; ENNIS POWER COMPANY, L.L.C.; HAYS
   ENERGY, L.L.C.; MIDLOTHIAN ENERGY, L.L.C.; OAK GROVE
     MANAGEMENT COMPANY, L.L.C.; WISE COUNTY POWER
 COMPANY, L.L.C.; ASSOCIATION OF ELECTRIC COMPANIES OF
   TEXAS; BCCA APPEAL GROUP; TEXAS CHEMICAL COUNCIL;
TEXAS OIL & GAS ASSOCIATION; PUBLIC UTILITY COMMISSION
    OF TEXAS; RAILROAD COMMISSION OF TEXAS; STATE OF
 MISSISSIPPI; MISSISSIPPI DEPARTMENT OF ENVIRONMENTAL
QUALITY; MISSISSIPPI POWER COMPANY; STATE OF LOUISIANA;
    LOUISIANA DEPARTMENT OF ENVIRONMENTAL QUALITY,

                                                Petitioners,
                                 v.

  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY;
  MICHAEL S. REGAN, Administrator, United States Environmental
                    Protection Agency,

                                                Respondents.


        TEXAS PETITIONERS’ JOINT RESPONSE TO
     RESPONDENTS’ MOTION TO TRANSFER OR DISMISS
       Case: 23-60069      Document: 102       Page: 2   Date Filed: 03/27/2023




                 CERTIFICATE OF INTERESTED PERSONS
      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an
interest in the outcome of this case. These representations are made in order that the
judges of this court may evaluate possible disqualification or recusal.

     Abrams, Michael R., Assistant Solicitor General, Office of the Attorney Gen-
      eral for the State of Texas (Counsel for Petitioners State of Texas, Texas Com-
      mission on Environmental Quality, Public Utility Commission of Texas, and
      Railroad Commission of Texas)

     Association of Electric Companies of Texas (Petitioner)

      The Association of Electric Companies of Texas (“AECT”) represents electric
      generators, transmission & distribution utilities, fully-integrated utilities and
      retail electric providers that span Texas. Its members generate power from
      diverse resources, including natural gas, coal, wind and solar, plus invest-
      ments in energy storage.

     Balch & Bingham LLP (Counsel for Petitioners Luminant Generation Com-
      pany LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
      Energy, LLC, Midlothian Energy, LLC, Oak Grove Management Company
      LLC, and Wise County Power Company, LLC and Petitioner Mississippi
      Power Company)

     Baker Botts L.L.P. (Counsel for Petitioners AECT, BCCA Appeal Group,
      TCC, and TXOGA)

     Barber, Julia B. (Counsel for Petitioners Luminant Generation Company
      LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
      LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
      Wise County Power Company, LLC)




                                           i
     Case: 23-60069     Document: 102        Page: 3   Date Filed: 03/27/2023




   BCCA Appeal Group (Petitioner)

    BCCA Appeal Group is a Texas non-profit corporation whose mission is to
    support the goals of environmental protection and a strong economy. Its mem-
    bers own and operate industrial facilities in Texas. The Group was formed
    from the Business Coalition for Clean Air. The Group played a key role in the
    successful attainment strategies that have achieved real and sustained progress
    on air quality goals in Texas. BCCA Appeal Group continues to evaluate and
    pursue regulatory decisions that are based on sound science and achieve en-
    vironmental and air quality goals while maintaining a strong economy.

   Blackman, Daniel (Region 4 Administrator, United States Environmental Pro-
    tection Agency)

   Brookfield Asset Management Inc. (together with its affiliates and managed
    entities owns 10% or more of Vistra Corp.’s stock)

   Burdette, Courtney J., Executive Counsel, Louisiana Department of Environ-
    mental Quality (Counsel for Petitioner Louisiana Department of Environmen-
    tal Quality)

   Clark, Jill C., General Counsel, Louisiana Department of Environmental
    Quality (Counsel for Petitioner Louisiana Department of Environmental
    Quality)

   Coleto Creek Power, LLC (Petitioner)

   Cole, William F., Assistant Solicitor General, Office of the Attorney General
    for the State of Texas (Counsel for Petitioners State of Texas, Texas Commis-
    sion on Environmental Quality, Public Utility Commission of Texas, and
    Railroad Commission of Texas)

   Davis, Bill, Deputy Solicitor General, Office of the Attorney General for the
    State of Texas (Counsel for Petitioners State of Texas, Texas Commission on
    Environmental Quality, Public Utility Commission of Texas, and Railroad
    Commission of Texas)

   Ennis Power Company, LLC (Petitioner)

   Fitch, Lynn, Attorney General, Office of the Attorney General for the State of
    Mississippi (Counsel for Petitioners State of Mississippi and Mississippi De-
    partment of Environmental Quality)

                                        ii
     Case: 23-60069     Document: 102       Page: 4   Date Filed: 03/27/2023




   Garland, Merrick B., Attorney General, United States Department of Justice
    (Counsel for Respondents)

   Gidiere, P. Stephen III (Counsel for Petitioners Luminant Generation Com-
    pany LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
    Energy, LLC, Midlothian Energy, LLC, Oak Grove Management Company
    LLC, and Wise County Power Company, LLC)

   Hall, Machelle, Assistant Attorney General, Louisiana Department of Justice
    (Counsel for Petitioners State of Louisiana and Louisiana Department of En-
    vironmental Quality)

   Hays Energy, LLC (Petitioner)

   Kelly, Daniel J. (Counsel for Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC and Senior Vice President and Deputy
    General Counsel for Vistra Corp.)

   Kim, Todd, Assistant Attorney General, Environment and Natural Resources
    Division, United States Department of Justice (Counsel for Respondents)

   Kuryla, Matthew L. (Counsel for Petitioners AECT, BCCA Appeal Group,
    TCC, and TXOGA)

   Landry, Jeff, Attorney General, Louisiana Department of Justice (Counsel for
    Petitioners State of Louisiana and Louisiana Department of Environmental
    Quality)

   Lee, Jin Hyung, Trial Attorney, United States Department of Justice, Envi-
    ronment & Natural Resources Division, Environmental Defense Section
    (Counsel for Respondents)

   Lipscomb, Whitney H., Deputy Attorney General, Office of the Attorney
    General for the State of Mississippi (Counsel for Petitioners State of Missis-
    sippi and Mississippi Department of Environmental Quality)

   Louisiana Department of Environmental Quality (Petitioner)

   Louisiana Department of Justice (Counsel for Petitioners State of Louisiana
    and Louisiana Department of Environmental Quality)

                                      iii
     Case: 23-60069     Document: 102       Page: 5   Date Filed: 03/27/2023




   Luminant Generation Company LLC (Petitioner)

   Matheny, Justin L., Deputy Solicitor General, Office of the Attorney General
    for the State of Mississippi (Counsel for Petitioners State of Mississippi and
    Mississippi Department of Environmental Quality)

   Mazzara, Joseph N., Assistant Solicitor General, Office of the Attorney Gen-
    eral for the State of Texas (Counsel for Petitioners State of Texas, Texas Com-
    mission on Environmental Quality, Public Utility Commission of Texas, and
    Railroad Commission of Texas)

   McPhee, Shae, Deputy Solicitor General, Louisiana Department of Justice,
    Office of the Attorney General (Counsel for Petitioners State of Louisiana and
    Louisiana Department of Environmental Quality)

   Midlothian Energy, LLC (Petitioner)

   Mississippi Department of Environmental Quality (Petitioner)

   Mississippi Power Company (Petitioner)

   Mitchell, David W. (Counsel for Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC and Senior Counsel, Environmental for
    Vistra Corp.)

   Moore, C. Grady III (Counsel for Mississippi Power Company)

   Moore, Stephanie Zapata (Counsel for Petitioners Luminant Generation Com-
    pany LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays
    Energy, LLC, Midlothian Energy, LLC, Oak Grove Management Company
    LLC, and Wise County Power Company, LLC and Executive Vice President
    and General Counsel for Vistra Corp.)

   Murrill, Elizabeth B., Solicitor General, Louisiana Department of Justice
    (Counsel for Petitioners State of Louisiana and Louisiana Department of En-
    vironmental Quality)

   Nance, Earthea (Regional Administrator for Respondent United States Envi-
    ronmental Protection Agency)



                                       iv
     Case: 23-60069     Document: 102       Page: 6   Date Filed: 03/27/2023




   Oak Grove Management Company LLC (Petitioner)

   Office of the Attorney General for the State of Louisiana (Counsel for Peti-
    tioners State of Louisiana and Louisiana Department of Environmental Qual-
    ity)

   Office of the Attorney General for the State of Mississippi (Counsel for Peti-
    tioners State of Mississippi and Mississippi Department of Environmental
    Quality)

   Office of the Attorney General for the State of Texas (Counsel for Petitioners
    State of Texas, Texas Commission on Environmental Quality, Public Utility
    Commission of Texas, and Railroad Commission of Texas)

   Paxton, Ken, Attorney General of Texas (Counsel for Petitioners State of
    Texas, Texas Commission on Environmental Quality, Public Utility Commis-
    sion of Texas, and Railroad Commission of Texas)

   Prieto, Jeffrey M. (General Counsel for Respondent United States Environ-
    mental Protection Agency)

   Public Utility Commission of Texas (Petitioner)

   Railroad Commission of Texas (Petitioner)

   Regan, Michael S., Administrator, United States Environmental Protection
    Agency (Respondent)

   Shurden, Shawn (Counsel for Petitioner Mississippi Power Company)

   Southern Company (Parent Company of Petitioner Mississippi Power Com-
    pany)

   State of Louisiana (Petitioner)

   State of Mississippi (Petitioner)

   State of Texas (Petitioner)

   St. John, Joseph S., Deputy Solicitor General, Louisiana Department of Jus-
    tice, Office of the Attorney General (Counsel for Petitioners State of Louisi-
    ana and Louisiana Department of Environmental Quality)


                                        v
     Case: 23-60069     Document: 102        Page: 7   Date Filed: 03/27/2023




   Stone, Judd, Solicitor General, Office of the Attorney General for the State of
    Texas (Counsel for Petitioners State of Texas, Texas Commission on Envi-
    ronmental Quality, Public Utility Commission of Texas, and Railroad Com-
    mission of Texas)

   Streett, Aaron M. (Counsel for Petitioners AECT, BCCA Appeal Group,
    TCC, and TXOGA)

   Stutts, Susan Scaggs (Counsel for Petitioner Mississippi Power)

   Texas Chemical Council (Petitioner)

    The Texas Chemical Council (“TCC”) represents approximately 70 compa-
    nies that own or operate more than 200 manufacturing and research facilities
    across the State of Texas. Its members have invested more than $150 billion
    in physical assets in the State, directly employ more than 75,000 Texans, and
    indirectly employ over 500,000 Texans. The Texas chemical industry repre-
    sents the #1 non-energy Texas export with over $45 billion in exports annually
    and pays more than $1.5 billion in state and local taxes each year.

   Texas Commission on Environmental Quality (Petitioner)

   Texas Oil & Gas Association (Petitioner)

    The Texas Oil & Gas Association (“TXOGA”) is a statewide trade association
    representing every facet of the Texas oil and gas industry including small in-
    dependents and major producers. Collectively, the membership of TXOGA
    produces in excess of 80 percent of Texas’ crude oil and natural gas, operates
    over 80 percent of the state’s refining capacity, and is responsible for the vast
    majority of the state’s pipelines. In fiscal year 2022, the oil and natural gas
    industry supported 443,000 direct jobs and paid $24.7 billion in state and local
    taxes and state royalties, funding schools, roads and first responders.

   The Vanguard Group, Inc. (together with its affiliates and managed entities
    owns 10% or more of Vistra Corp.’s stock)

   United States Environmental Protection Agency (Respondent)

   Vistra Asset Company LLC (Parent company of Petitioners Luminant Gener-
    ation Company LLC, Coleto Creek Power, LLC, Ennis Power Company,
    LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Management
    Company LLC, and Wise County Power Company, LLC)

                                        vi
     Case: 23-60069     Document: 102       Page: 8   Date Filed: 03/27/2023




   Vistra Corp. (Parent company of Petitioners Luminant Generation Company
    LLC, Coleto Creek Power, LLC, Ennis Power Company, LLC, Hays Energy,
    LLC, Midlothian Energy, LLC, Oak Grove Management Company LLC, and
    Wise County Power Company, LLC)

   Vistra Intermediate Company LLC (Parent company of Petitioners Luminant
    Generation Company LLC, Coleto Creek Power, LLC, Ennis Power Com-
    pany, LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Man-
    agement Company LLC, and Wise County Power Company, LLC)

   Vistra Operations Company LLC (Parent company of Petitioners Luminant
    Generation Company LLC, Coleto Creek Power, LLC, Ennis Power Com-
    pany, LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak Grove Man-
    agement Company LLC, and Wise County Power Company, LLC)

   Webster, Brent, First Assistant Attorney General, Office of the Attorney Gen-
    eral for the State of Texas (Counsel for Petitioners State of Texas, Texas Com-
    mission on Environmental Quality, Public Utility Commission of Texas, and
    Railroad Commission of Texas)

   Wise County Power Company, LLC (Petitioner)

                                             Respectfully submitted.
                                             /s/ P. Stephen Gidiere III
                                            Counsel for Luminant Generation
                                            Company LLC, Coleto Creek Power,
                                            LLC, Ennis Power Company, LLC,
                                            Hays Energy, LLC, Midlothian En-
                                            ergy, LLC, Oak Grove Management
                                            Company LLC, and Wise County
                                            Power Company, LLC




                                      vii
          Case: 23-60069              Document: 102             Page: 9       Date Filed: 03/27/2023




                                        TABLE OF CONTENTS
CERTIFICATE OF INTERESTED PERSONS ........................................................ i
TABLE OF CONTENTS ....................................................................................... viii
TABLE OF AUTHORITIES ................................................................................... ix
GLOSSARY........................................................................................................... xiii
INTRODUCTION .....................................................................................................1
BACKGROUND .......................................................................................................2
I.      Statutory and Regulatory Background .............................................................2
II.     Texas’s Ozone Interstate Transport SIPs .........................................................2
         A.       Texas’s SIP for the 2008 ozone NAAQS..............................................2
         B.       Texas’s SIP for the 2015 ozone NAAQS ..............................................4
         C.       EPA Region 6’s determinations regarding Texas’s SIP .......................6
         D.       EPA’s disapproval of Texas’s SIP ........................................................7
STANDARD OF REVIEW .......................................................................................8
ARGUMENT .............................................................................................................9
I.      The Motion to Transfer Should Be Denied. .....................................................9
         A.       EPA’s disapproval of Texas’s SIP is a “locally or regionally
                  applicable” action. .................................................................................9
         B.       The core determinations in EPA’s Texas-only final action do
                  not have nationwide scope or effect. ...................................................16
II.     The Motion to Dismiss Should Be Denied.....................................................19
III.    Alternatively, the Motion Should Be Carried with the Case. ........................19
CONCLUSION ........................................................................................................20
CERTIFICATE OF SERVICE ................................................................................23
CERTIFICATE OF COMPLIANCE .......................................................................23




                                                         viii
         Case: 23-60069             Document: 102             Page: 10       Date Filed: 03/27/2023




                                     TABLE OF AUTHORITIES
Cases                                                                                                   Page(s)
Arbuckle Mountain Ranch of Tex., Inc. v. Chesapeake Energy Corp.,
   810 F.3d 335 (5th Cir. 2016) ..............................................................................19

ATK Launch Sys., Inc. v. EPA,
  651 F.3d 1194 (10th Cir. 2011) ..........................................................................13

Azar v. Allina Health Servs.,
   139 S. Ct. 1804 (2019) ........................................................................................17

Brown Express, Inc. v. United States,
   607 F.2d 695 (5th Cir. 1979) ..............................................................................10

Chevron U.S.A., Inc. v. EPA,
  45 F.4th 380 (D.C. Cir. 2022) .............................................................................19

EPA v. EME Homer City Generation, L.P.,
  572 U.S. 489 (2014) .............................................................................................. 2

Fla. Power & Light Co. v. Costle,
   650 F.2d 579 (5th Cir. Unit B June 1981) ......................................................2, 18

Luminant Generation Co. v. EPA,
  675 F.3d 917 (5th Cir. 2012) ..............................................................................15

Nat’l Cable & Telecomm. Ass’n v. Brand X Internet Servs.,
  545 U.S. 967 (2005) ............................................................................................14

Texas v. EPA,
   No. 10-60961, 2011 WL 710598 (5th Cir. Feb. 24, 2011) .....................12, 13, 15

Texas v. EPA,
   829 F.3d 405 (5th Cir. 2016) ............. 1, 3, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18




                                                         ix
         Case: 23-60069             Document: 102             Page: 11        Date Filed: 03/27/2023




Union Elec. Co. v. EPA,
  427 U.S. 246 (1976) ............................................................................................18

U.S. Steel Corp. v. EPA,
   595 F.2d 207 (5th Cir. 1979) ..................................................................10, 11, 12

W. Oil & Gas Ass’n v. EPA,
   633 F.2d 803 (9th Cir. 1980) ..............................................................................12

Federal Statutes

42 U.S.C. § 7409(a)-(b) ............................................................................................. 2

42 U.S.C. § 7410(a)(2)(D)(i) ..................................................................................... 2

42 U.S.C. § 7410(k)(5)............................................................................................. 18

42 U.S.C. § 7607(b)(1)...............................................................................1, 8, 16, 17

Federal Register

64 Fed. Reg. 35,714 (July 1, 1999) ..........................................................................13

73 Fed. Reg. 16,436 (Mar. 27, 2008) ...................................................................2, 13

80 Fed. Reg. 65,292 (Oct. 26, 2015)....................................................................4, 13

81 Fed. Reg. 296 (Jan. 5, 2016) ................................................................................ 3

81 Fed. Reg. 53,284 (Aug. 12, 2016) ....................................................................... 3

81 Fed. Reg. 62,375 (Sept. 9, 2016) .......................................................................... 3

87 Fed. Reg. 9,798 (Feb. 22, 2022) ...................................................4, 5, 6, 7, 12, 17

87 Fed. Reg. 24,300 (Apr. 25, 2022) ....................................................................... 10



                                                          x
          Case: 23-60069               Document: 102               Page: 12        Date Filed: 03/27/2023




88 Fed. Reg. 9,336 (Feb. 13, 2023) ........................ 1, 7, 8, 12, 13, 14, 15, 16, 17, 18

Miscellaneous

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     https://www.epa.gov/air-quality-implementation-plans/infra-
     structure-sip-requirements-and-guidance (“EPA Infrastructure
     SIP Guidance”) ................................................................................................ 2

EPA Region 6, 2015 8-Hour Ozone Transport SIP Proposal Technical
     Support Document (Feb. 2022) (“Region 6 Texas TSD”) ..............6, 7, 16, 17

Federal Rule of Appellate Procedure 15(a)(2)(C) ...................................................11

Memorandum from Peter Tsirigotis, Director, Office of Air Quality
    Planning and Standards, Information on the Interstate Transport
    State Implementation Plan Submissions for the 2015 Ozone Na-
    tional Ambient Air Quality Standards under Clean Air Act Sec-
    tion 110(a)(2)(D)(i)(I) (Mar. 27, 2018), available at https://ti-
    nyurl.com/4x2pp8u8 (“2018 Transport Guidance”) .................................4, 10

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    Planning and Standards, Guidance on Infrastructure State Imple-
    mentation Plan (SIP) Elements under Clean Air Act Sections
    110(a)(1) and 110(a)(2) (Sept. 13, 2013), available at https://ti-
    nyurl.com/2p8c7885 (“Page Memo”) ............................................................. 2

Order, Calumet Shreveport Refining, L.L.C. v. EPA, No. 22-60266 (5th
      Cir. Oct. 21, 2022) ...................................................................................10, 19

Order, Wynnewood Refining Co., L.L.C. v. EPA, No. 22-60425 (5th Cir.
      Nov. 16, 2022) ...............................................................................................19

Pet. for Review, Sierra Club v. EPA, No. 16-60755 (5th Cir. Nov. 7,
       2016) ................................................................................................................ 3




                                                              xi
          Case: 23-60069              Document: 102               Page: 13        Date Filed: 03/27/2023




Pet. for Review, State of Utah v. EPA, No. 23-9509 (10th Cir. Feb. 13,
       2023) ..............................................................................................................11

TCEQ, SIP Revision: 2008 Ozone Infrastructure and Transport (Dec.
    5, 2012), available at https://tinyurl.com/732y52mc ..................................2, 3

TCEQ, Transport State Implementation Plan (SIP) Revision for the
    2015 Ozone National Ambient Air Quality Standards (NAAQS),
    Docket No. 2017-1762-SIP (Aug. 8, 2018), available at
    https://tinyurl.com/yc53rkrf (“Texas Ozone Transport SIP”) .................4, 5, 6




                                                            xii
      Case: 23-60069   Document: 102       Page: 14   Date Filed: 03/27/2023




                                GLOSSARY


CAA or the Act         Clean Air Act

EPA                    United States Environmental Protection Agency

FIP                    Federal implementation plan

NAAQS                  National ambient air quality standard(s)

ppb                    Parts per billion

SIP                    State implementation plan

State Petitioners      State of Texas, Texas Commission on Environmental
                       Quality, Public Utility Commission of Texas, and Rail-
                       road Commission of Texas

TCEQ                   Texas Commission on Environmental Quality

Texas Industry         Association of Electric Companies of Texas, BCCA Ap-
Petitioners            peal Group, Texas Chemical Council, Texas Oil & Gas
                       Association, Luminant Generation Company LLC, Coleto
                       Creek Power, LLC, Ennis Power Company, LLC, Hays
                       Energy, LLC, Midlothian Energy, LLC, Oak Grove Man-
                       agement Company LLC, and Wise County Power Com-
                       pany, LLC

Texas Petitioners      Collectively, State Petitioners and Texas Industry Peti-
                       tioners




                                       xiii
       Case: 23-60069      Document: 102        Page: 15   Date Filed: 03/27/2023




                                  INTRODUCTION
      The Court should deny EPA’s motion to dismiss or transfer to the D.C. Cir-

cuit. The petitions for review filed by Texas Petitioners challenge EPA’s action dis-
approving a provision of Texas’s SIP—a “locally or regionally applicable” action
for which venue is proper “only” in this Court under 42 U.S.C. § 7607(b)(1). Texas

v. EPA, 829 F.3d 405, 419 (5th Cir. 2016). Indeed, EPA acknowledged that ozone
transport between States—the issue underpinning Texas’s SIP—is “regional [in] na-
ture,” and EPA’s Regional Office for Texas thus determined the approvability of

Texas’s SIP. 88 Fed. Reg. 9,336, 9,374, 9,359-60 (Feb. 13, 2023). Under this Court’s
precedent, EPA cannot subvert the plain meaning of section 7607(b) by packaging
its action on Texas’s SIP in an omnibus Federal Register notice with other SIP dis-

approvals. The “default presumption” is that review of SIP disapprovals is proper
only in regional circuits, Texas, 829 F.3d at 419, and EPA has not overcome that
presumption.

      Although EPA leans on the “nationwide scope or effect” “exception” to the
“default presumption” of review, see id., that exception does not apply here. The
Court decides that issue de novo without deference to EPA’s self-serving character-

izations, and the record reflects that the “core determinations” in EPA’s action were
“a number of intensely factual determinations” made by EPA’s Regional Office “re-
lated to the particularities” of Texas’s SIP. Id. at 421 & n.23. There is therefore no

basis for transfer or dismissal of the petitions.




                                            1
       Case: 23-60069     Document: 102        Page: 16   Date Filed: 03/27/2023




                                  BACKGROUND
I.    Statutory and Regulatory Background

       “Congress chose a balanced scheme of state-federal interaction to implement
the goals of the [Clean Air] Act.” Fla. Power & Light Co. v. Costle, 650 F.2d 579,
581 (5th Cir. Unit B June 1981). Under this scheme, EPA sets NAAQS for certain

pollutants, including ozone. See 42 U.S.C. § 7409(a)-(b). States then develop SIPs
to implement the NAAQS and demonstrate “compliance with the Act’s require-
ments.” EPA v. EME Homer City Generation, L.P., 572 U.S. 489, 507 (2014).

      At issue here is the Act’s “interstate transport” provision, 42 U.S.C.
§ 7410(a)(2)(D)(i), which contains four “prongs” that States must address—1) “sig-
nificant contribution”; 2) “interference with maintenance”; 3) “prevention of signif-

icant deterioration”; and 4) “protection of visibility.” See Page Memo at 30-35 (list-
ing the four prongs of the “interstate pollution transport” provision, 42 U.S.C.
§ 7410(a)(2)(D)(i)); see also EPA Infrastructure SIP Guidance (listing the four “In-

terstate transport” prongs of 42 U.S.C. § 7410(a)(2)(D)(i)). This case implicates
prongs 1 and 2, often called the Act’s “good neighbor” provisions.
II.   Texas’s Ozone Interstate Transport SIPs

      A.     Texas’s SIP for the 2008 ozone NAAQS
      This is not the first case in this Court about interstate transport under the ozone
NAAQS. In 2008, EPA revised those NAAQS downward from 80 ppb to 75 ppb. 73

Fed. Reg. 16,436 (Mar. 27, 2008). In 2012, Texas revised its SIP to address the in-
terstate-transport requirements as to the new NAAQS. TCEQ, SIP Revision: 2008




                                           2
       Case: 23-60069     Document: 102       Page: 17   Date Filed: 03/27/2023




Ozone Infrastructure and Transport (Dec. 5, 2012), available at https://ti-
nyurl.com/732y52mc. EPA’s actions on Texas’s SIP were published in three Federal

Register notices. 81 Fed. Reg. 296, 302 (Jan. 5, 2016) (disapproval as to prong 4);
81 Fed. Reg. 53,284 (Aug. 12, 2016) (disapproval as to prongs 1 and 2); 81 Fed.
Reg. 62,375 (Sept. 9, 2016) (approval as to prong 3).

      EPA’s actions generated three cases in this Court, two of which remain pend-
ing. Texas and TCEQ filed a petition for review (No. 16-60670) of EPA’s disap-
proval as to prongs 1 and 2. EPA raised no objection to venue in that case, and it

remains pending; after opening merits briefs were filed, the case was held in abey-
ance for EPA’s action on Texas’s interstate-transport SIP for the 2015 NAAQS (the
subject of this case). See No. 16-60670, Docs. 97, 104-2.

      Separately, Sierra Club filed a petition for review (No. 16-60755) of EPA’s
approval as to prong 3. Sierra Club asserted that “[j]urisdiction and venue for this
petition are proper in this Court under 42 U.S.C. § 7607(b)[.]” Pet. for Review, Si-

erra Club v. EPA, No. 16-60755 (5th Cir. Nov. 7, 2016). Sierra Club later voluntarily
dismissed its petition.
      Texas, Luminant Generation Company LLC, and others filed petitions for re-

view (No. 16-60118, consolidated) of EPA’s disapproval as to prong 4. The Court
denied EPA’s motion to transfer the petitions to the D.C. Circuit and granted peti-
tioners’ motion to stay the rule. Texas, 829 F.3d at 411, 435-36. That case remains

pending.




                                          3
       Case: 23-60069    Document: 102       Page: 18   Date Filed: 03/27/2023




      B.    Texas’s SIP for the 2015 ozone NAAQS
      EPA again lowered the ozone NAAQS in 2015 from 75 to 70 ppb, creating an

October 1, 2018, deadline for SIP revisions addressing interstate transport. 80 Fed.
Reg. 65,292 (Oct. 26, 2015). EPA did not promulgate nationally-applicable regula-
tions containing requirements that States must follow in addressing “good neighbor”

obligations under the new ozone NAAQS. Instead, EPA issued a guidance memo-
randum (not regulations) in March 2018 explaining that States could “us[e] EPA’s
analytical approach” from EPA’s prior FIPs, “somewhat different analytical ap-

proaches within these steps,” “or alternative frameworks.” 2018 Transport Guidance
at 3. EPA’s memorandum “recommend[ed] that states reach out to EPA Regional
offices and work together to accomplish the goal of developing, submitting, and re-

viewing approvable SIPs.” Id. at 6.
      On August 8, 2018, TCEQ timely adopted its SIP to address all four interstate-
transport prongs for the 2015 ozone NAAQS, see Texas Ozone Transport SIP, and

on August 17, 2018, submitted its SIP to EPA, 87 Fed. Reg. 9,798, 9,824 (Feb. 22,
2022). Consistent with EPA’s guidance, TCEQ used its own alternative approach to
developing its SIP. TCEQ conducted regional photochemical modeling of Texas

sources and their impact on ozone concentrations in downwind States. Id. at 9,825.
Based on regional considerations, TCEQ’s modeling used 2012 as a base year (in-
stead of 2011, as EPA had in prior modeling) because “2011 was a meteorologically

anomalous year for Texas and surrounding states as it was the hottest year on record
and the single-worst drought year recorded in Texas since 1895.” Texas Ozone
Transport SIP at 3-6.


                                         4
       Case: 23-60069       Document: 102       Page: 19   Date Filed: 03/27/2023




       TCEQ also “us[ed] a framework similar to EPA’s 4-Step framework,” 87 Fed.
Reg. at 9,824, but with three “key improvements,” Texas Ozone Transport SIP at 3-

1.
       First, using modeling, TCEQ identified monitors in other States that were
projected in 2023 either to be in nonattainment (“nonattainment monitors”) or have

maintenance issues (“maintenance monitors”). To identify maintenance monitors,
TCEQ used the most recent three-year design value as the base case for its modeling
(i.e., the 2012-2014 period) instead of EPA’s maximum and outdated three-year de-

sign value (i.e., 2009-2011, 2010-2012, or 2011-2013). Id. at 3-39; see 87 Fed. Reg.
at 9,800 n.8 (explaining that a “design value is a statistic that describes the air quality
status of a given location relative to the level of the NAAQS.”). TCEQ found that

the most recent data “reflect[s] the current state of ozone concentrations [and] the
impact of any maintenance plans that are in place to prevent local emissions from
causing an area to slip back into nonattainment.” Texas Ozone Transport SIP at 3-

42.
       Second, TCEQ identified monitors potentially linked to Texas emissions us-
ing the threshold recommended in EPA’s guidance: one percent of the NAAQS, or

0.7 ppb. Id. at 3-2. If TCEQ’s modeling predicted a Texas contribution at or above
0.7 ppb, the monitor was identified for further review. Id. at 3-3.
       Finally, TCEQ conducted a multi-factor weight-of-evidence analysis to deter-

mine downwind contribution from Texas sources. Id. at 3-47 to 3-50. Because
“[i]nterstate transport is a complex problem,” TCEQ considered “factors relevant to
the ozone conditions at the [downwind] monitors,” including “design value trends,


                                            5
       Case: 23-60069     Document: 102       Page: 20   Date Filed: 03/27/2023




the meteorological conditions that lead to high ozone formation at the monitor, and
the number of days with elevated ozone.” Id. at 3-50. Based on those factors, TCEQ

found that Texas emissions do not contribute significantly to nonattainment or inter-
fere with maintenance in downwind areas. Id. at 3-50 to 3-76.
      C.     EPA Region 6’s determinations regarding Texas’s SIP

      In 2022, EPA’s Region 6—which covers Arkansas, Louisiana, New Mexico,
Oklahoma, and Texas—published its proposed disapproval of Texas’s SIP as to
prongs 1 and 2 of the interstate-transport provision. See 87 Fed. Reg. at 9,798. The

proposal was signed by the Regional Administrator for Region 6 and appeared in a
Federal Register notice that included proposed disapprovals for three other States in
Region 6. See id. at 9,835. Region 6’s notice explained that “all public comments,

including comments on the EPA’s air quality modeling[,] should be submitted in the
Regional docket for this action, Docket ID No. EPA-R06-OAR-2021-0801. Com-
ments are not being accepted in [the Headquarters] Docket.” Id. at 9,806 n.45 (em-

phasis added).
      Region 6 explained that the determinations that formed the basis for the dis-
approval were provided in a Texas-only Technical Support Document authored by

Region 6’s “Lead Regional Air Quality Modeler.” Cover Page, Region 6 Texas TSD.
First, Region 6 determined that TCEQ’s use of the most recent three-year period
(2012-2014) to identify downwind maintenance monitors “is less likely to success-

fully identify maintenance receptors than the EPA method.” Id. at 11. Second, Re-
gion 6 determined that “TCEQ’s modeling underestimates future ozone levels” in
2023 as compared to Region 6’s “ballpark estimate” for 2023. 87 Fed. Reg. at 9,829;


                                          6
       Case: 23-60069     Document: 102       Page: 21   Date Filed: 03/27/2023




see Region 6 Texas TSD at 38-41. Third, Region 6 determined that TCEQ’s multi-
factor weight-of-evidence analysis was not sufficiently “compelling” to “counter”

“EPA’s [one-percent] contribution methodology” from EPA’s FIPs. 87 Fed. Reg. at
9,833-34; Region 6 Texas TSD at 78.
      D.     EPA’s disapproval of Texas’s SIP

      Earlier this year, EPA published a final rule that included its disapproval of
Texas’s SIP revision, as had been proposed by Region 6. 88 Fed. Reg. at 9,359-60.
The disapproval was published in a Federal Register notice that included disapprov-

als of 18 other States’ SIPs, which had been proposed in 12 separate notices from 8
different EPA Regional Offices. Id. at 9,337. Yet this Federal Register notice did not
address all state “good neighbor” SIPs for the 2015 ozone NAAQS. EPA “deferr[ed]

action” on Tennessee’s and Wyoming’s SIPs. Id. at 9,337. And, previously, EPA
had taken action on the “good neighbor” SIPs from 23 States and the District of
Columbia, in 20 separate Federal Register notices. Id. at 9,362.

      EPA’s notice explained that “the contents of each individual state’s submis-
sion were evaluated on their own merits.” Id. at 9,354. As EPA explained, individual
“states may be able to establish alternative approaches to addressing their interstate

transport obligations for the 2015 ozone NAAQS that vary from a nationally uniform
framework” (as Texas had done) and that each such SIP would be judged “in light
of the facts and circumstances of each particular state’s submission.” Id. at 9,340.

Further, EPA explained that the consolidated Federal Register notice provided only
“a brief, high level overview of the SIP submissions and the EPA’s evaluation and
key bases for disapproval” and that “[t]he full basis for the EPA’s disapprovals is


                                          7
       Case: 23-60069       Document: 102       Page: 22   Date Filed: 03/27/2023




available in [the] relevant [regional office] Federal Register notifications of pro-
posed disapproval for each state, in the technical support documents informing the

proposed and final action, and in the responses to comments[.]” Id. at 9,354; see also
id. at 9,343 (“Our evaluation of the states’ analyses was generally set forth in the
[regional office] proposals[.]”).

       As to Texas’s SIP in particular, EPA’s final disapproval references and relies
on Region 6’s determinations for disapproval, as articulated in the Region’s pro-
posed denial and the Region 6 Texas TSD authored by the Region’s Lead Regional

Modeler. See id. at 9,359-60. EPA Headquarters did not issue a revised or additional
technical support document for Texas, nor did EPA headquarters conduct new tech-
nical analysis expanding on the work that Region 6 did.

                             STANDARD OF REVIEW
       This Court decides venue under 42 U.S.C. § 7607(b)(1) de novo. Texas, 829
F.3d at 420-21. Thus, it is the Court’s role to determine the appropriate category in

that provision for a particular EPA action, without deferring to EPA’s position or
findings. Id. The Court’s “independent assessment” encompasses both 1) the “ap-
plicability of the [final] action” (i.e., whether it is “nationally applicable,” and there-

fore subject to challenge only in the D.C. Circuit, or “locally or regionally applica-
ble,” and thus subject to challenge in a regional court of appeals), and 2) the scope
and effect of the “the core determinations in the action” (i.e., whether they are “na-

tionwide”). Id. at 419-21. When EPA disapproves a SIP, that action is presumptively
“locally or regionally applicable,” and EPA bears the burden of establishing that its




                                            8
       Case: 23-60069     Document: 102       Page: 23   Date Filed: 03/27/2023




action is “nationally applicable” or is based on a determination that has “nationwide
scope or effect.” Id.

                                   ARGUMENT
I.    The Motion to Transfer Should Be Denied.
      Under this Court’s precedent, EPA’s “action” in this case—its disapproval of

prongs 1 and 2 of Texas’s interstate transport SIP—is a “locally or regionally appli-
cable” final action that is not based on a determination that has “nationwide scope
or effect.” Thus, venue is proper only in this Court, not the D.C. Circuit.

      A.     EPA’s disapproval of Texas’s SIP is a “locally or regionally appli-
             cable” action.
      “Interpreting [section 7607(b)(1)] requires close attention to detail,” which
“begin[s] by defining the significant statutory terms.” Id. at 419. Chief among those

terms, and the starting point for determining proper venue, is the agency “action” at
issue. “The ‘action’ is the rule or other final action taken by the agency that the
petitioner seeks to prevent or overturn.” Id. Here, that “action” is EPA’s disapproval

of Texas’s SIP submission.
      EPA’s motion to transfer proceeds from the mistaken premise that the “ac-
tion” here is EPA’s Federal Register notice compiling its separate disapprovals of

19 separate SIPs. Mot. 1, 9-10. But EPA’s Texas disapproval did not become a “na-
tionally applicable” action just because it was published in a Federal Register notice
alongside other state-specific disapprovals. Were it otherwise, EPA could manipu-

late the Act’s venue provision by selectively choosing to publish SIP disapprovals
individually or in combination with others. Congress did not give EPA that power.


                                          9
       Case: 23-60069     Document: 102        Page: 24   Date Filed: 03/27/2023




It instead made venue depend on the substance of an EPA action, not its packaging.
See, e.g., Texas, 829 F.3d at 415 (concluding that EPA’s disapproval of Texas’s

prong 4 interstate-transport SIP was “locally or regionally applicable” where “EPA
also, in the same rulemaking, disapproved Oklahoma’s plan”); U.S. Steel Corp. v.
EPA, 595 F.2d 207, 218 (5th Cir. 1979) (vacating EPA designations for areas in

Alabama published in a multi-state Federal Register notice); Order, Calumet Shreve-
port Refining, L.L.C. v. EPA, No. 22-60266 (5th Cir. Oct. 21, 2022) (granting recon-
sideration of a transfer order where the challenged EPA Clean Air Act actions were

included in a Federal Register notice that also addressed “over 30 small refineries
across the country . . . located within 18 states in 7 of the 10 EPA regions and in 8
different Federal judicial circuits,” 87 Fed. Reg. 24,300, 24,301 (Apr. 25, 2022)).

      This Court, not EPA, must determine the character of the final action for pur-
poses of venue without regard to EPA’s self-serving labels. Texas, 829 F.3d at 421;
see also Brown Express, Inc. v. United States, 607 F.2d 695, 700 (5th Cir. 1979).

Here, EPA disapproved Texas’s individual SIP based on Region 6’s assessment of
the unique features of Texas’s plan. EPA’s motion suggests that the agency would
prefer the latitude to establish a nationwide program for interstate transport through

the disapproval of SIPs and the promulgation of FIPs. But under Congress’s design,
SIPs and FIPs are state-specific, and States have the latitude to craft individualized
SIPs. Indeed, EPA’s prior guidance acknowledged that fact. See 2018 Transport

Guidance at 3.
      EPA not only misdescribes the challenged action but also misstates the peti-
tions challenging that action. EPA claims that “Petitioners petitioned for review of


                                          10
       Case: 23-60069     Document: 102        Page: 25    Date Filed: 03/27/2023




the Final Rule in this Court.” Mot. 1. Not so. Rather, Texas Petitioners sought review
of only that part of EPA’s Federal Register notice addressing EPA’s Texas disap-

proval. See Docs. 1-1, 3-1, 5-1, 44-1. It is EPA’s disapproval of Texas’s SIP, and
not any other action, that “the petitioner[s] seek[] to prevent or overturn,” and it is
that action that the Court should consider in deciding EPA’s motion. Texas, 829 F.3d

at 419. Such a limited challenge is expressly authorized by Federal Rule of Appellate
Procedure 15(a)(2)(C) and is hardly unusual. See, e.g., U.S. Steel Corp., 595 F.2d at
210.

       EPA is thus wrong that judicial review must occur only in the D.C. Circuit to
prevent “inconsistent outcomes.” Mot. 12. Although other petitions for review have
been filed in other regional courts of appeals, none of those petitions involves EPA’s

disapproval of the Texas SIP, and all are similarly limited to EPA’s SIP disapprovals
for States other than Texas. See, e.g., Pet. for Review, State of Utah v. EPA, No. 23-
9509 (10th Cir. Feb. 13, 2023). The same is true of the latest petitions for review

that the Clerk docketed under this cause number: they solely challenge the Louisiana
and Mississippi SIP disapprovals and have no connection to the Texas-specific ac-
tion that petitioners challenge here. Docs. 52-1, 58-1, 63-1. All those other pending

cases, including those in this Court, confirm that SIP disapprovals are “locally or
regionally applicable” EPA actions for which venue is proper “only” in the regional
court of appeals. Texas, 829 F.3d at 419 (citing cases).

       And despite EPA’s concerns, the courts of appeals are experienced in mini-
mizing conflicting decisions and considering the views of sister circuits, even when
reviewing different parts of the same Federal Register notice. This Court’s U.S. Steel


                                          11
       Case: 23-60069     Document: 102        Page: 26   Date Filed: 03/27/2023




decision is a prime example. See, e.g., 595 F.2d at 210. Other courts of appeals re-
viewed EPA’s actions for other States published in the same multi-state Federal Reg-

ister notice, see W. Oil & Gas Ass’n v. EPA, 633 F.2d 803, 807 (9th Cir. 1980), and
they did so while minimizing “conflicting results” among circuits, id. at 808; see
also id. at 811 (“We agree with the reasoning of the Third and Fifth Circuits.”).

      Furthermore, contrary to EPA’s claim (at 11), “the merits arguments that Pe-
titioners could make in this case” are irrelevant to the venue analysis. The question
of applicability “turns on the legal impact” of EPA’s action, Texas, 829 F.3d at 419,

and “the location of the persons or enterprises that the action regulates.” Texas v.
EPA, No. 10-60961, 2011 WL 710598, at *3 (5th Cir. Feb. 24, 2011) (cleaned up).
Texas’s SIP and EPA’s action on it involve only the regulation of Texas emission

sources and have legal consequences only for Texas and Texas facilities. Apart from
EPA’s choice to publish the final disapproval alongside those of other States, every
aspect of EPA’s Texas SIP disapproval is regional or local. The disapproval was

proposed by EPA’s Regional Office, was based exclusively on analysis by Region
6’s Lead Regional Modeler, was compiled in a regional docket, and cited only the
Region’s unique Texas-specific rationale for disapproval. See supra pp. 7-8. EPA

directed public comments on the disapproval to the Regional Office, 87 Fed. Reg. at
9,806 n.45, and, even in the final disapproval, directed parties to the Regional Of-
fice’s “evaluation” as the basis for disapproval, 88 Fed. Reg. at 9,343.

      But even accepting EPA’s construct and considering all 21 SIP actions pub-
lished in the same notice, EPA’s action was not “nationally applicable.” The statu-
tory phrase “nationally applicable” has a plain meaning: applicable to the nation, not


                                          12
       Case: 23-60069     Document: 102        Page: 27   Date Filed: 03/27/2023




some subset thereof. EPA promulgates many regulations that apply to the entire na-
tion—such as the NAAQS (national ambient air quality standards). See, e.g., 80 Fed.

Reg. 65,292 (Oct. 26, 2015) (promulgating 2015 ozone NAAQS); 73 Fed. Reg.
16,436 (Mar. 27, 2008) (promulgating 2008 ozone NAAQS); 64 Fed. Reg. 35,714
(July 1, 1999) (promulgating a national regional-haze rule establishing guidelines

for all States); see also Texas, 829 F.3d at 412 (discussing the national regional-haze
rule). This is not one of them. Here, in fact, EPA’s consolidated notice addresses
only a minority subset of “good neighbor” SIPs for the 2015 ozone NAAQS. EPA

separately acted on the interstate-transport SIPs from 23 other States and the District
of Columbia in 20 separate Federal Register notices. 88 Fed. Reg. at 9,362. And
EPA “deferr[ed] action” on Tennessee’s and Wyoming’s SIPs, so those will come

later. Id. at 9,337.
       Thus, notwithstanding EPA’s assertion otherwise (at 9-10), this case is not
like Texas v. EPA (2011), in which this Court concluded in an unpublished opinion

that an EPA rule “applie[d] to all states whose implementation plans d[id] not apply
the Act’s [prevention-of-significant-deterioration] program to greenhouse-gas-emit-
ting sources” and was thus a “nationally applicable” action. 2011 WL 710598 at *3.

Nor is this case like ATK Launch Sys., Inc. v. EPA, in which the Tenth Circuit found
that the challenged rule applied, on its face, to “every state and territory” and was
thus “nationally applicable.” 651 F.3d 1194, 1198-1200 (10th Cir. 2011). Even con-

sidering EPA’s Federal Register notice as a whole, that notice applies only to a mi-
nority of States and certainly not “every state and territory” required to comply with
the “good neighbor” provision.


                                          13
       Case: 23-60069      Document: 102        Page: 28   Date Filed: 03/27/2023




      EPA’s remaining arguments that this is a “nationally applicable” action fare
no better. EPA claims that its action on Texas’s SIP is nationally applicable because

EPA “applie[s] a ‘nationally consistent 4-step interstate transport framework’ to
evaluate plans submitted by states across the country.” Mot. 9 (citing 88 Fed. Reg.
at 9,380). But again, “[t]he question of applicability turns on the legal impact of the

action,” not EPA’s reasoning. Texas, 829 F.3d at 419 (emphasis added). Here, the
legal impact of EPA’s action is in Texas. EPA’s action triggers a statutory obligation
and deadline for EPA to “fill the gap” in Texas’s SIP, which EPA has done in the

form of emission limitations on Texas sources. See Texas Industry Petitioners’ Mot.
to Stay, Doc. 32-1 at 9-10 (discussing emission limitations on Texas sources result-
ing from disapproval).

      EPA’s “nationally consistent” and “uniform legal interpretation” argument
also proves too much. Surely, EPA applies the same legal interpretation of key pro-
visions of the Act in determining whether each SIP is approvable. To do otherwise

would be arbitrary and capricious. See, e.g., Nat’l Cable & Telecomm. Ass’n v.
Brand X Internet Servs., 545 U.S. 967, 981 (2005) (“Unexplained inconsistency” of
the application of a statute is a reason for finding that application “to be an arbitrary

and capricious change.”). The fact that EPA applied the same legal standards to take
different discrete actions does not mandate review in the D.C. Circuit. See Texas,
829 F.3d at 423. EPA even conceded that individual “states may be able to establish

alternative approaches . . . that vary from a nationally uniform framework” and that
each such SIP would be judged “in light of the facts and circumstances of each par-
ticular state’s submission.” 88 Fed. Reg. at 9,340.


                                           14
       Case: 23-60069     Document: 102        Page: 29   Date Filed: 03/27/2023




      Finally, EPA’s argument (at 12) that its Texas disapproval is nationally appli-
cable because it involves “matters of interstate pollution” misses the mark. For one

thing, it is contrary to the record here, in which EPA itself characterizes ozone
transport as “regional [in] nature.” 88 Fed. Reg. at 9,374 (explaining the “regional
nature of the collective contribution problem with respect to ozone”). EPA’s post

hoc turnabout should be rejected on that basis alone. See Luminant Generation Co.
v. EPA, 675 F.3d 917, 925 (5th Cir. 2012). But even beyond that, EPA’s new position
is contrary to this Court’s instruction that applicability does not turn upon “where

the effects of the action are felt.” Texas, 2011 WL 710598 at *3. Thus, the fact that
Texas’s SIP and EPA’s disapproval evaluated the impact of Texas emissions on ar-
eas outside of Texas is irrelevant to the venue analysis.

      If EPA were correct, its actions on interstate-transport SIPs would never be
reviewable in regional circuits. That would not just be contrary to this Court’s prec-
edent and the plain text of the Act, but it would also contradict how Texas’s own

SIPs have been adjudicated. As explained above, a trio of cases involving EPA’s
actions on Texas’s interstate-transport SIP for the prior ozone NAAQS was filed in
this Court. In one of those cases (involving visibility—prong 4), this Court denied

EPA’s motion to transfer. Texas, 829 F.3d at 419-24. And in another of those cases
(No. 16-60670, involving the “good neighbor” prongs at issue here—prongs 1 and
2), EPA raised no objection to venue, undermining its present argument (at 12) that

interstate-transport issues must be resolved by the D.C. Circuit because only that
court, according to EPA, has the requisite “administrative law expertise.”




                                          15
       Case: 23-60069     Document: 102        Page: 30   Date Filed: 03/27/2023




      B.     The core determinations in EPA’s Texas-only final action do not
             have nationwide scope or effect.
      EPA’s Texas disapproval is not based on a determination that has nationwide

scope or effect. To apply the “nationwide scope or effect” “exception” to the “default
presumption” of review in this Court, the Court “must answer two questions: (1) is
the action based on a determination that has nationwide scope or effect; and (2) did

the Administrator publish an adequate finding?” Texas, 829 F.3d at 419-20. Alt-
hough EPA claimed in its action here that “the CAA reserves to the EPA complete
discretion whether to invoke the exception in [42 U.S.C. § 7607(b)(1)(ii)],” 88 Fed.

Reg. at 9,380, this Court has squarely rejected that assertion, Texas, 829 F.3d at 420.
As the Court has explained, section 7607(b)(1) “looks to the ‘determination’ that the
challenged action is ‘based on’”; “[t]hese determinations are the justifications the

agency gives for the action and they can be found in the agency’s explanation of its
action.” Id. at 419 (quoting 42 U.S.C. § 7607(b)(1)). “[T]he relevant determinations
are those that lie at the core of the agency action. Merely peripheral or extraneous

determinations are not relevant[.]” Id.
      Here, in the action itself, EPA identified the “core determinations” for its dis-
approval of the Texas SIP, and they are not “of nationwide scope or effect.” Id. EPA

disapproved Texas’s SIP based on Region 6’s evaluation of the “individual” attrib-
utes of Texas’s SIP. 88 Fed. Reg. at 9,354; see also id. at 9,343. Specifically, Region
6 determined that TCEQ’s use of the most recent three-year period (2012-2014) to

identify downwind maintenance monitors “is less likely to successfully identify
maintenance receptors than the EPA method,” Region 6 Texas TSD at 11; that



                                          16
       Case: 23-60069     Document: 102        Page: 31   Date Filed: 03/27/2023




“TCEQ’s modeling underestimates future ozone levels” in 2023, 87 Fed. Reg. at
9,829; and that TCEQ’s multi-factor weight-of-evidence analysis was not suffi-

ciently “compelling” to “counter” “EPA’s [one-percent] contribution methodology,”
id. at 9,833-34; see Region 6 Texas TSD at 78. These are exactly the type of “in-
tensely factual determinations” that, under this Court’s precedent, do not have na-

tionwide scope or effect. Texas, 829 F.3d at 421. Just as in Texas, “[t]hese determi-
nations all related to the particularities of the emission sources in Texas” and their
alleged impact on downwind air quality. Id.

      EPA claims that the “nationwide scope or effect” exception applies because
EPA applied “the same, nationally consistent 4-step interstate transport framework
for assessing obligations for the 2015 ozone NAAQS that it has applied in other

nationally applicable rulemakings.” Mot. 14 (quoting 88 Fed. Reg. at 9,380). But no
binding EPA regulations identify requirements for “good neighbor” SIPs, see supra
p. 4, and thus EPA could not have applied or interpreted any such regulations in

judging Texas’s SIP. And EPA claimed that it judged Texas’s SIP based on its own
“individual” “merits.” 88 Fed. Reg. at 9,354.
      Nor does EPA’s desire for “national uniformity” trump the statutory presump-

tion. The legislative history cited by EPA (at 16) is muddled at best, and it could of
course not overcome the clear language of section 7607(b) directing SIP cases to the
regional courts of appeals. 42 U.S.C. § 7607(b)(1) (providing that a challenge to

“any implementation plan under section 7410 of this title . . . which is locally or
regionally applicable may be filed only in the United States Court of Appeals for the
appropriate circuit”); Azar v. Allina Health Servs., 139 S. Ct. 1804, 1814 (2019)


                                          17
       Case: 23-60069      Document: 102        Page: 32   Date Filed: 03/27/2023




(confirming that “legislative history is not the law”). And the statute does not man-
date “national uniformity” among SIPs. Mot. 16. In fact, it calls for just the opposite.

“Congress chose a balanced scheme of state-federal interaction to implement the
goals of the Act.” Fla. Power & Light, 650 F.2d at 581. Under that scheme, “each
state [is given] ‘wide discretion in formulating its plan’ for achieving the air quality

standards set by EPA.” Texas, 829 F.3d at 411 (quoting Union Elec. Co. v. EPA, 427
U.S. 246, 250 (1976)). That is just as true for “interstate transport” as it is for other
SIP requirements. See Texas Industry Petitioners’ Mot. to Stay, Doc. 32-1 at 3. And

if a SIP does not ultimately achieve its objective (for example, to adequately address
“downwind” contribution), the statutory remedy is a “SIP call” by EPA, requiring
the State to address the shortcoming. See 42 U.S.C. § 7410(k)(5). That is how the

statute is supposed to work.
      Finally, EPA insists (at 16-17) that there is “imminent risk of inconsistent re-
sults if these cases are not all transferred to the D.C. Circuit.” But as discussed above,

Texas Petitioners here are challenging only EPA’s disapproval of Texas’s SIP, not
its disapproval of Utah’s SIP or any other State’s SIP. See supra pp. 10-11. If the
Court finds that EPA unlawfully disapproved of Texas’s unique weight-of-evidence

approach, but the Tenth Circuit finds that EPA lawfully disapproved of Utah’s dif-
ferent approach, those separate holdings will stand on their own and cause no con-
flict for EPA or anyone else. The courts of appeals are perfectly capable of judging

“each individual state’s submission … on [its] own merits,” as EPA claims to have
done. 88 Fed. Reg. at 9,354.




                                           18
       Case: 23-60069      Document: 102        Page: 33   Date Filed: 03/27/2023




II.    The Motion to Dismiss Should Be Denied.
       EPA’s alternative request for outright dismissal, relegated to a footnote, is

waived for insufficient briefing. See Arbuckle Mountain Ranch of Tex., Inc. v. Ches-
apeake Energy Corp., 810 F.3d 335, 339 n.4 (5th Cir. 2016). Moreover, under Texas,
the venue provision is not jurisdictional, and EPA acknowledges as much. See Mot.

9 n.7. EPA supports its request for dismissal with reference to Chevron U.S.A., Inc.
v. EPA, 45 F.4th 380 (D.C. Cir. 2022), but that case is inapposite. There, the D.C.
Circuit dismissed the petitions because a petition was brought in the Ninth Circuit

and dismissal “enabl[ed] its Ninth Circuit action to proceed”; the Court did not hold
that a protective petition in the alternative circuit was required. Id. at 388.
III.   Alternatively, the Motion Should Be Carried with the Case.

       The record before the Court is sufficiently developed to deny EPA’s motion
outright at this stage. But if the Court disagrees, it may elect to carry the motion with
the case, as it did recently when EPA grouped local actions into one final rule and

made unsupported nationwide-scope findings. See Order, Calumet Shreveport Re-
fining, L.L.C. v. EPA, No. 22-60266 (5th Cir. Oct. 21, 2022) (staying the rule while
carrying a transfer motion with the case); Order, Wynnewood Refining Co., L.L.C. v.

EPA, No. 22-60425 (5th Cir. Nov. 16, 2022) (same).




                                           19
       Case: 23-60069    Document: 102         Page: 34   Date Filed: 03/27/2023




                                 CONCLUSION
      EPA’s motion to dismiss or transfer should be denied or, alternatively, carried

with the case.

                                                Respectfully submitted.

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                                          20
Case: 23-60069   Document: 102        Page: 35   Date Filed: 03/27/2023




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                                 21
Case: 23-60069   Document: 102        Page: 36   Date Filed: 03/27/2023




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                                 22
       Case: 23-60069     Document: 102        Page: 37   Date Filed: 03/27/2023




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                                          23
